SO ORDERED.

SIGNED August 30, 2021.


                                         ________________________________________
                                         STEPHEN D. WHEELIS
                                         UNITED STATES BANKRUPTCY JUDGE




                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

IN RE: REGAN GULLATT                                                   CASE NO: 17BK-30191
       JO LINDA GULLATT                                                CHAPTER 13


    AGREED ORDER TO APPROVE SETTLEMENT AND AUTHORIZATION FOR
                         DISBURSEMENTS

       Considering the foregoing Motion to Approve Settlement and Authorization for

Disbursements by debtor and for the reasons stated therein, IT IS HEREBY ORDERED,

ADJUDGED, AND DECREED that the motion is hereby GRANTED, and debtor’s settlement

agreement in Jo Linda Gullett v. State of Louisiana through the Board of Supervisors for the

University of Louisiana System d/b/a Louisiana Tech University, et al., Case No. 3:20-cv-00520-

JWD-SDJ is hereby approved. Therefore, this Court approves disbursement of the funds in the Trust

Account of Casey Denson Law, LLC to be disbursed in the following manner: Legal fees of

$40,000.00 (40%) shall be paid to the law firm of Casey Denson Law, LLC; Reimbursement for




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costs of $5,430 shall be paid to Casey Denson Law, LLC for costs advanced to the expert economist,

production of records, mailings and service of pleadings and subpoenas, and court costs; $26,064.38

to the Trustee, E. Eugene Hastings; $28,155.62 to the Debtor, Jo Linda Gullatt; $350.00 in attorney

fees of herein Debtor’s counsel in these proceedings, Mr. James W. Spivey, II.

       The hearing previously scheduled for September 2, 2021 at 10:30 a.m. which was scheduled

to review the issues raised in the aforementioned Motion to Approve Settlement and Authorization

for Disbursements is cancelled as no hearing is necessary in light of this Order.

                                              ###

ORDER WAS PREPARED BY:

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AND

/s/ James W. Spivey II
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AND APPROVED BY:

/s/ Stacy L. Guice
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